Case 7:97-cr-00024-MFU       Document 665 Filed 06/16/16         Page 1 of 1       Pageid#:
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                     IN THE UNITED STATES DISTRICT COURT
                    FO R T H E W ESTERN DISTR ICT O F V IR G IN IA              JULl.
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UNITED STATES OF AM ERICA                       CaseNo.7:97-cr-00024-7

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FA H AD T.TAW A LBEH ,                          By:    H on.M ichaelF.U rbanski
       Petitioner.                                     U nited StatesD istrictJudge

      Fahad T.Tawalbeh,a federalinm ateproceedingprom ,sled amotion to vacate,setaside

orcorrectsentenceplzrsuantto28U.S.C.j2255inlightofJohnsonv.UnitedStates,              U.S.
    135S.Ct.2551(2015).Com'trecordsindicatethatthecourtalready dismissedaprior
j2255motioninCivilActionNo.7:00-cv-00858.Thus,theâ2255motionisasecondor
subsequentmotiontmder28U.S.C.j2255419.Seese.c.,UnitedStatesv.Hairston,754F.3d
258,262 (4thCir.2014).
      Thecourtmayconsiderasecondorsuccessivej2255motiononlyupon specific
certification from the United StatesCourtofAppealsfortheFourth Circuitthataclaim in the

motionmeetscertain criteria.See28U.S.C.j2255(19.AsPetitionerhasnotsubmittedany
evidence ofhaving yetobtained certifcation from theCourtofAppealsto 5leasecond or

successivej2255motion,thecourtdismissesthej2255motionwithoutprejudiceas
successive. Based upon the cotlrt'ssndingthatPetitionerhasnotm adetherequisite substantial

showingofdenialofaconstitutionalrightasrequiredby28U.S.C.j22534c)andSlackv.
M cDaniel,529U.S.473,484 (2000),acertificateofappealabilityisdenied.
      ENTER:This/$ dayofJune,2016.
                                             f+/* 4A .J /.W                                  '
                                                 United StatesD istrictJudge
